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                  EXHIBIT C
                         Case 3:22-cv-00521-REP                   Document 65-3              Filed 02/02/24
Parents of murdered Idaho student Kaylee Goncalves say she was preparing to move to Texas before slayings              Page 2 of 2         2/2/24, 2&08 PM




      U.S. NEWS


      Parents of murdered Idaho student Kaylee Goncalves say she was preparing to move
      to Texas before slayings
      Kaylee Goncalves had lined up a job with an IT ﬁrm in Austin and recently moved out of the house where she was killed.




            Kaylee Goncalves, one of four University of Idaho students found stabbed to death on Nov. 13. @kayleegoncalves via Instagram




                  Jan. 13, 2023, 6:00 PM CST

                  By Daniella Silva

                  The parents of a University of Idaho student who was killed along with three others said she had recently moved
                  from the house where the slayings took place in November, but had gone back to show her close friend her new car
                  and attend a nearby party.

                  Kristi and Steve Goncalves told Dateline that their daughter, 21-year-old Kaylee Goncalves, was due to graduate from
                  college early and had lined up a job with an IT ﬁrm in Austin, Texas.

https://www.nbcnews.com/news/us-news/parents-murdered-idaho-st…ncalves%20say%20she%20was,house%20where%20she%20was%20killed.                  Page 1 of 12
